Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                      Desc
                               Main Document    Page 1 of 36




   ^}£Ò`Í©ÒQ}¡¡}¥Ò
     !3'''Òcª¥ÂµÎÒ`¦ Òn°} Ò+43Ò
  'Ò SÇ¥Ã¥Âª¥ÒC} ÒD@Ò8'3.8
     r ¯ª¥9Ò4". Ò,'#,//8Ò
  +Ò
     J}¤}¡¡}¦ ¤}¡ ª¤
  .Ò
     XdÒjmiÒjKm
  0Ò
  3Ò
  4Ò
  7Ò                             1 .9-..-9 #)2(. 69 %2).9

  8Ò                  .)9-.) .9%9 %)$ -!.  93-% 9

 $Ò
 "!Ò _@c[KÒ`{hÒP@b`X@dÒ                                    D}¾Òd«:Ò7;'!!!5!nDÒ

 !'Ò                               GÂª¶Ò                 D}¯Â¶6Ò

 !+Ò                                                        %((%-/%!9.%9((.& 9%9
                                                            .9 (.)99.)2-.9.%9
 !.Ò                                                        '79*9-..9 )%)9
                                                             %49 #)9,.89 9
 !1Ò                                                         0-959+"9 9
                                                            )9   9(2)-2 .9.%992-9
 !3Ò                                                        ÑÑÒ  ;     DOC        128
 !4Ò                                                        DECLARATION      JAMIE     LYNN
                                                            GALLIAN ISO OF OPPOSITION.
 !7Ò
                                                            T»¦Ò
 !8Ò                                                        G}Â<Òn±Â¤¸Ò"-Ò(()Ò
 'Ò                                                        s¤=Ò!&Ò> Ò}¤Ò
                                                            H´Å?ÒoE z}Ò|ªª£QªËÒ
 '%Ò         siÒsVKÒHONORABLE SCOTT CLARKSON,
 ''Ò
       iMNXDKÒiOÒtWÒygXrLGÒnr@sLnÒrkxpuKKÒAfGÒ@a`Òj@lsXKnÒ]Ò \sJmJns?Ò
 '+Ò
                  IÂª¶Ò_}£Ò`Ï§¥ÒR}¡¡ Ò¶¦}¶ÒGKCsim Ò·¿¯ Â¡¡ÐÒ¾È¤Â¾ÒÄÒ¡¡ªÌ§Ò
 '/Ò
         ª²³ª¾Ãª¥ÒÂªÒÂÒv¼ÉÀÂ¾Ò}¯¯¡ }Âª¥ÒÂªÒ£¯ ªÍÒ}Ò¸}¡ÒÀÂ}ÂÒ¹¬ºÒÃ­ÒÀ¢ Ò¹Ò¯µ¾ª¦}¡Òµ¾¦ 
 '2Ò
 '3Ò Ò}ÂÒ#3'''ÒÒcª¥Ä»ÎÒb¥Òn²} Ò,43 ÒSÉ¦Â¥Âª¥ÒC} ÒD@Ò8'3.8Ò¶¥}¶ÒÅÒj½´¹ÆÎ Ò
 '4Ò GÂªµÒpurchased and ª Ç¯ÒÂÒµ¾¦ Ò¾¦ ÒdªË¤µÒ'#7Ò}¦Ò Çµµ¦Â¡ÎÒ¡Ë¾Ò¦ÒÂÒª¤
 '7Ò         ZÒ sÒ}¾ÁÒ¹ÒÂÒª¯¯ªÀÂª¥Ò¾ÒÂÒ ÂÒÂ}ÂÒÂÒUª¨®¼~ ÒK»ÂÒ@Òn£ÂÒ}ÀÒºÊ¡ÒÂ}ÂÒ

                                       ijjiqXsYieÒsiÒ@jj`[FBwXifÒ
                                                                                                       1
Case 8:21-bk-11710-ES            Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                     Desc
                                  Main Document    Page 2 of 36




        ^č*/ hč&č  č 90čËč č7ên  č ččV čč*úþčÄ č či čÜ č^č
   ­č
         čÌčZč7  ìč@@3čččč   5 č čÍč°č(Mčč č:Dč č>pč 8& 5 ččččč
  č
        čč:č-ô č č   č>Gč5Gčč)ččiFyčV dùč#čaÝ č ččččč
  Rč
        čKčč čċ č w±čIqč,čč)čzč$čč  č ččX
                                                                                                    Xo"_ ččččččč
  =č
        )č]čĂ5č rčč\ N'č²Oč   č3č@@3ččč Aăč Ič:jčč óččG0čč &č
  2č
  +č       %č č čč" č7č ý 4l č  č č/ \č čW"č#¿č`öč čcč#č

  č [,ºX¥čččč> GčĈ ;č&×č# č^ččº¹čč³%č sč; %č čč·  čªč
  Tč ¹  El5 č>,3č2~č`ččč"čÇč č¸5 č¬G5 ~č>,3č$$~č mč{č$ččččč
  (č
        ]čYčX`^č)PčPčč¬čUč č>č`öčč3 ` č^č·,ºPčLodg.ATT
 $č
                   ) čč ;čØÞč   čßč  č ččč č č:čč č
 !!č
               č ?č´%čXG5^č)~č tč/n čHĊKčč¹  ñč· à č>,3č2~ččcč4 č
 !č
 Rč 8 ččč©~č  č č* čč č Â9 čččččč· č  ÿč eBč
 !=č      áâ ččč"čč Ąč č 0čč č é  č č čč č"çÈ čč ã č

 2č     Cč 6č          1$č3N!(('č(+QčªPč<¢|<OčXo  & čč
 !+č    čH;FččÒ č čč¾3č2=!čL'12xč č  č^Gč÷č1-/ hč 8Cčč"eC}čKčč
   č
        E   ¦č  Āč 8čmfčû& FčkJ6 č% ččÁ čą& č.% čMč
  Sč
        Ïč  ččBAć^č Ðč#æ  č S$čččč 'č
 (č
                <č YčDuč9 č#č  čč#čč2~č·dòčč­ Gč-Gč1¬č
 $č
 !č U'č>,3č(2~č č čºč  č č) 6 A  ~č.ä č č č5 GčG5č  č č
 č +R$~čč>,3čTččč§čJč g č čL.É čč À č č čbčÕ'č Ûč * /ĉčččččččč
 Qč      č jčččIÊč čč> pčG čG5 č^čG5č5 ~č č# čč>Gččččččč
 č ºÓf~č čºGpč)ø   č>,3č+~č čÙčč"èččÅč>X¸­X>~čč č- GJččč
 č
     ;č  =čÆ. čč gvč ðččč ččĆDčëÎččÔHčµčXG5^č)čE ~č čč
 +č
     . č ččÚč3^Gččºüā č čZ čR$~č$~č>,3čTč>č`Kč^čºččč
 ¡č
     ;ö` =ččd=1'č``` č ^P
 Tč
                                                            
     WÃ¤č)% č+č$č                            U¥č     ¹  0Ö6íčå
                                                               Zč¶Čb č«î7č­ č õč č
                                                            č                                           2
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 3 of 36




                                                                             3
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 4 of 36




                                                                             4
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 5 of 36




                                                                             5
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 6 of 36




                                                                             6
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 7 of 36




                                                                             7
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 8 of 36




                                                                             8
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 9 of 36




                                                                             9
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 10 of 36




                                                                           10
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 11 of 36




                                                                           11
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 12 of 36




                                                                           12
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 13 of 36




                                                                           13
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 14 of 36




                                                                           14
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 15 of 36




                                                                           15
Case 8:21-bk-11710-ES       Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04          Desc
                             Main Document    Page 16 of 36

                      DECLARATION OF JAMIE LYNN GALLIAN


               I, JAMIE LYNN GALLIAN, DECLARE under penalty of perjury by the
 Laws of The State of California, the following to be true and correct to the best of my
 ability. If called upon to testify, I would and could provide testimony to the same.
 I file this declaration In support. I am not an attorney and am filing this opposition IN
 PRO PER.


        Interested Party and Movant Houser Bros Co. dba Rancho Del Rey Mobilehome
 Estates filed a MOT Objection, DOC 95, to Debtors prepetition Declared Homestead and
 Debtor homeowners exemption listed in Debtor’s First Amendment Amended Schedule
 C California homestead exemption in the amount of $600,000 scheduled by debtor
 Jamie Lynn Gallian (Debtor). DOC 16, Debtor filed a Declared Homestead with the
 Santa Ana Clerk Recorders Office, County of Orange, prepetition. DOC 74


        The Chapter 7 Trustee, Jeffrey Golden, along with Interested Parties Huntington
 Beach Gables Homeowners Association joined in the Motion Objecting to
 Debtors Homeowners Exemption. No claims were raised in the MOT that the property in
 question is not the Debtors personal residence, since November 2018. Debtor and her
 family still live in the home.


        If the Court had deemed Debtors’ homestead exemption to be valid, then the
 secondary plan by interested parties Houser Bros Co, and the joinders back up plan
 was sought to limit her homeowners exemption to the statutory cap of $170,675
 under § 522(p)(1).      Debtor resides in and purchased the property in question on
 November 1, 2018 and 11 U.S.C. 522 (p)(2)(b) is applicable to the proceeds from her
 sale of her previous home on October 31 2018, used to purchase Debtors 2014
 Manufactured Home.


        Interested parties Houser Bros Co dba Rancho Del Rey, The Huntington Beach
 Gables HOA and former Gables HOA attorney Janine Jasso, argued that Debtor acquired
 an interest in the 2014 Skyline Manufactured Home property within the meaning of §

                                                                                      16
Case 8:21-bk-11710-ES       Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04               Desc
                             Main Document    Page 17 of 36



 522(p)(1) because the LLC by releasing signature on the Certificate of Title, transferred
 registration back to Debtor, on February 25, 2021, for no consideration, during the 1215–
 day period preceding the date of Debtor’s Chapter 7 Petition on July 9, 2021, DOC 1.


        Debtor asserts she qualified for the homeowners exemption because the home is
 where debtor has lived for several years and currently resides since acquiring the property
 on November 1, 2018, with the funds from the home she sold October 31, 2018, under the
 same Unexpired 80-year Ground Leasehold, burdening Parcel 1 & Parcel 2, APN 178-011-
 01, recorded December 6, 1979. in the Records of the Clerk Recorder, Orange County,
 Document No(s). 8346 & 8347.


        Debtor also asserted that the limitation under § 522(p)(1) was not triggered since
 she retained a beneficial and equitable interest in the Unit and the Ground Leasehold real
 property at all times despite transfer of the HCD Certificate of Title Registration of the
 Personal Property LBM1081, a 2014 Manufactured Home to and from the LLC with CA
 Department of Housing and Community Development due to negative effects put upon
 debtor by Houser Bros Co dba Rancho Del Rey Mobilehome Estates.


        On July 21, 2022, the bankruptcy court posted a TR, sustained Interested party
 Houser Bros Co dba Rancho Del Rey Mobilehome Estates MOT Objecting to Debtors
 Homeowenrs Exemption, with joinders The Huntington Beach Gables Homeowners
 Association and former HOA attorney Janine Jasso.
 The Chapter 7 Trustee, Jeffrey Golden joined the objection to Debtors Homestead Exemption on
 June 30, 2022, DOC 128, without specific supporting argument.


        Debtor timely moved for Reconsideration set on calendar, August 18, 2022, DOC 157,
 continued to September 22, 2022, upon an Agreed Signed Stipulation for Debtor to Dismiss Her
 Appeals without prejudice, at the BAP and District Court, August 18, 2022, on the Record with
 Honorable Erithe A. Smith, finalized and signed Stipulation between Houser Bros Co attorney D.




                                                                                            17
Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                    Desc
                               Main Document    Page 18 of 36



 Edward Hays and Debtor, so Honorable Erithe A. Smith can consider Debtor’s Motion for
 Reconsideration on the Merits aftert the Stipulated and Continued hearing August 18, 2022, to
 September 22, 2022.


        The Chapter 7 Trustee, Attorney Jefferey I Golden, filed Application of The Chapter 7
 Trustee To Employ Real Estate Broker Coldwell Banker Realty And Agents William Friedman
 And Greg Bingham Pursuant to 11 U.S.C. §§ 327 and 328: Memorandum Of Points And
 Authorities; and Declarations Of William Friedman And Greg Bingham In Support on
 July 28, 2022, DOC 162, and DOC 166. Trustee’s corrected Notice of Hearing was filed on
 August 22, 2022, DOC 195. Debtor recorded a Declared Homestead pre-petition, with the
 Office of the Clerk Recorder, Co. of Orange, DOC 74.


        “The Debtor claimed a homestead exemption in the Property” (Trustee Appl. Pg. 2, Line
 21) in her FIRST AMENDMENT Amended Schedule C, DOC 16.
 The Chapter 7 Trustee’s Application seeks to sell the Debtor's personal residence (Trustee Appl,
 pg. 2 line 19) she has lived in since November 1, 2018, DOC 1, and use the proceeds to “pay
 claims of creditors and expenses of administration” (Trustee Appl. Pg. 2, Line 28) and a
 dividend, DOC 142, to the Interested Parties and their unsecured claims namely, The Huntington
 Beach Gables Homeowners Association and Interested Party Houser Bros Co dba Rancho Del
 Rey Mobilehome Estates against “the equity in the Property upon further court order” (“Trustee
 Appl. Pg. 2, Line 18) or portion of the sale proceeds to Debtor's estate, assuming there is
 anything left.


        At its most basic level, a Chapter 7 trustee’s job is to liquidate the property of a debtor's
 estate and then distribute the proceeds among the debtor's creditors pursuant to the Bankruptcy
 Code's priority scheme. 6 COLLIER ON BANKRUPTCY ¶ 700.04 (16th ed. 2021).


        The Trustee’s Application to Employ Real Estate Broker…DOC 162, and ultimately
 “administer the equity in the Property upon further Court Order” a precursor to a subsequent
 MOTION to Sell the personal residence debtor resides in with her family, than the [Trustee’s
 Application] appears to readily disclose or the Trustee’s Joinder MOT.




                                                                                                   18
Case 8:21-bk-11710-ES          Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                    Desc
                                Main Document    Page 19 of 36




        This Trustees Application DOC 162, quickly becomes this Courts more complicated
 consideration and decision than the basic concepts.


        Debtor believes the sale of the Debtor’s personal residence she resides in and has for
 years, violate the core principles of bankruptcy law, and the Debtor prays the court deny
 Trustee’s Application DOC 162, and a looming subsequent MOT to Sell and the proposed
 transaction to sell debtors home to pay…. “…expenses of administration.” (Trustee Appl. Pg. 2
 Line 28.)


        A Chapter 7 trustee only may seek to sell a debtor's real property when there is available
 equity over any Perfected Claim on the face of California Certificate of Title secured by the
 property and any exemptions available to the debtor.


        The debtor is keenly aware of the bankruptcy court TR on 7/21/2022, that the Property
 [is not] part of the bankruptcy estate of Debtor said Property having been registered in the name
 of J-Sandcastle Co LLC as of the petition date of July 9, 2021. TR on 7/21/2022,


        Bankruptcy trustees (like executing judgment creditors outside bankruptcy) ordinarily
 must satisfy liens secured by the property and pay a debtor's exemption prior to reaching funds
 available for paying their administrative claims and distribution to the rest of the creditor body.
 See DeGiacomo v. Traverse (In re Traverse), 753 F.3d 19, 29 (1st Cir. 2014) (“Bankruptcy
 courts have defined the equity that justifies a sale of property, consistently and explicitly, in one
 way: the value remaining for unsecured creditors above any secured claims and the debtor's
 exemption.” (citations omitted)).


        Using the Debtor’s estimate for the value of the Debtor's home, DOC 1, there does not
 appear to be any equity in the property over Perfected Face of the Certificate of Title.


        The Debtor scheduled the value of her residence at 16222 Monterey Ln. Unit 376,
 Huntington Beach, CA 92649, in Huntington Beach, California at $235,000.00 based on the last




                                                                                                   19
Case 8:21-bk-11710-ES          Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                    Desc
                                Main Document    Page 20 of 36



 24 months of recorded comparable home sales within the Rancho Del Rey Mobilehome Park and
 within Skandia Mobilehome Park. The Orange County Tax Assessor listed the 2021-2022 tax
 value at $79,000.00 with a $-7,000.00 homeowners exemption in Orange County, and the
 Trustee reports in his Motion that a realtor valued the2014 Skyline Manufactured Home installed
 pursuant to Health & Safety Code 18551§§, as personal property, at $300,000.00, after an
 exterior-only review.


          The Debtor disclosed in her DOC 1, a 11/16/2018, Security Agreement & Promissory
 Note with a balance of $225,000.00 at 5.5% interest per year, Manufactured-Home Transaction
 UCC Financing Statement Filing Date 01/14/2019 09:10a.m., Document Number 76027940003,
 Filing Number 19-7691916827. The Trustee’s Application does not disclose whether the
 Trustee verified a payoff.


          This would usually be the end of the analysis for a Chapter 7 trustee, and any Application
 to Employ and any subsequent Motion to Sell the Debtors home would end up in front of the
 Court.


          Even using the Trustee's numbers in his Application and without considering the Debtor's
 homestead exemption, MOT for Reconsideration set on September 22, 2022, there does not
 appear to be any equity available for the Debtor's estate, as the total amount subject to liens
 ($225,000.00) + (approximately $20,000, in interest) exceeds the value of the property as
 estimated by the Trustee's realtor and debtors homestead exemption and any potential final sales
 price.


          Since there is no equity available for the estate, the Trustee should not normally pursue a
 sale. If a Chapter 7 Trustee wanted to sell the property despite the lack of equity, the court
 would not let him, as courts do not allow trustees to administer bankruptcy estates solely for the
 benefit of secured creditors. See Joseph v. Cooper, 539 B.R. 489, 497 (W.D.N.C. 2015) (“In
 order to authorize the sale, the Bankruptcy Court must determine whether such a sale would
 benefit the estate after considering any encumbrances and the debtors declared homestead filed
 prepetition.




                                                                                                   20
Case 8:21-bk-11710-ES          Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                   Desc
                                Main Document    Page 21 of 36



         A sale benefits the estate when the proceeds generate equity that can be distributed
 among secured creditors.” (citing Reeves v. Calloway, 546 F. App'x 235, 241 (4th Cir. 2013)));
 In re Fontana, Ch. 7 Case No. 14-30773, 2015 Bankr. LEXIS 3771, at *4 (Bankr. W.D.N.C.
 Nov. 4, 2015) (“This result is consistent with the longstanding principle that Chapter 7 trustees
 are not to pursue claims for individual creditors.” (citing In re Miller, 197 B.R. 810, 814–15
 (W.D.N.C. 1996))); In re Marko, Ch. 7 Case No. 11-31287, 2014 WL 948492, at *5 (Bankr.
 W.D.N.C. Mar. 11, 2014)
 “The Bankruptcy Code generally contemplates that over encumbered property [not be] sold.”
 (citing 11 U.S.C. § 363(f)(2).


         Since there does not appear to be any equity in the Debtor's residence, the Trustee
 appears to be attempting a different slight of hand and may be potentially successful in an
 attempt invoking a Chapter 7 exception to the normal order of distribution of sale proceeds as
 part of the justification for this Application and then a looming subsequent MOT for proposed
 Sale.


         Section 724(b) of the Bankruptcy Code allows Chapter 7 trustees to subordinate some
 types of tax liens in order to pay particular priority claims. 11 U.S.C. § 724(b); COLLIER ¶
 724.03. Debtor is not currently aware of any tax liens by the IRS.


         This section of the U.S.C. is an unusual provision in the Bankruptcy Code that allows a
 Chapter 7 trustee to administer encumbered property for the benefit of certain priority claimants
 and includes an alternate distribution scheme. See COLLIER ¶ 724.03[5], [7].


         Distributions pursuant to the alternate distribution scheme begin as they would without
 § 724(b), by paying any liens senior to the tax lien that will be subordinated. § 724(b)(1).


         The alternate distributions begin at the next step, as claimants holding certain types of
 priority claims [substitute in] for the tax lien to the extent of the tax lien. § 724(b)(2).




                                                                                                     21
Case 8:21-bk-11710-ES             Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                 Desc
                                   Main Document    Page 22 of 36



        Third, the tax lien is paid to the extent that it exceeds the payments to priority creditors
 under § 724(b)(2). § 724(b)(3).
 Next, any liens that are junior to the tax lien are paid. § 724(b)(4).


        To the extent that the subordinated tax lien has not already been paid, it is satisfied after
 the junior liens. § 724(b)(5).
        Finally, any remaining proceeds go to the debtor's estate. § 724(b)(6).


        Since there are [no tax liens] against the Debtor's residence in this case, Trustee’s
 potential undisclosed attempt [is not] appropriate for subordination pursuant to § 724(b).


        Since this Debtor does not owe any tax liens, the [Trustee’s] slight of hand becomes the
 [one significant potential exception], as Debtor does not owe any of the types of priority claims
 that can be paid pursuant to § 724(b). See § 724(b)(2) (listing, by reference to 11 U.S.C. § 507,
 certain priority claims, including domestic support obligations and wages, salaries, or
 commissions owed, that can be paid ahead of the subordinated tax claims).


        The one type of priority claim that the Trustee [would be] able to pay is [his own]
 [compensation], which would be entirely (or at least primarily) related to the sale. See id.
 (including the administrative expenses of a Chapter 7 trustee pursuant to § 507(a)(1)(C) and
 507(a)(2)).
        A corollary of the rule against allowing trustees to administer estates with no available
 equity, and a problem for the Trustee here, is [not] to allow trustees to potentially dupe this
 Court, and potentially administer this estate for their own benefit. See In re Sunbum5 Enters.,
 LLC, Ch. 7 Case No. 09-14839, Adv. Nos. 10-1268, 10-1269, 2011 WL 4529648, at *9 (M.D.
 Fla. Sept. 30, 2011) (“[T]he recognized purpose of § 554(b) is to prevent trustees from
 unnecessarily administering assets that bring no value to the estate and to thwart the practice of
 trustees increasing their own commissions by not abandoning valueless property on their own.”
 (citing In re Paolella, 79 B.R. 607, 609 (Bankr. E.D. Pa. 1987))); COLLIER ¶ 704.02[1] (“[T]he
 legislative history of the Code made clear Congress's displeasure with prior practices under
 which trustees’ administration of ‘nominal asset cases’ benefited only the trustees themselves.”




                                                                                                   22
Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                   Desc
                               Main Document    Page 23 of 36



 (citing H.R. REP. No. 595, 95th Cong., 1st Sess. 93 (1977))). But see In re Reeves, Ch. 7 Case
 No. 10-2562-8, 2011 WL 841238, at *3 (Bankr. E.D.N.C. Mar. 8, 2011), aff'd sub nom. Reeves
 v. Callaway, No. 11-CV-280, 2012 WL 10180780 (E.D.N.C. Aug. 14, 2012), aff'd 546 F. App'x
 235 (4th Cir. 2013) (unpublished per curiam) (“[T]rustees frequently liquidate fully secured
 property for the benefit of the secured creditor where the trustee is authorized to recover his costs
 of disposal of the property pursuant to § 506(c).”).


        The Application of the Trustee, and any subsequent sale motion, however, I believe
 would fail to explain or disclose any negotiated “carve outs” with the [Interested Party] to allow
 undisclosed % of the sale proceeds that would normally be paid on perfected liens to instead go
 to unsecured claims, presumably to increase the likelihood that the court would approve the
 subsequent MOT for sale, and said Motion proposes a modification of the § 724(b) distribution
 scheme.


        Under the Trustee's proposed modified § 724(b) distribution scheme, the sale proceeds
 should first satisfy the perfected 1/14/2019 lien on the residence.
        The Trustee fails to disclose proposed payment amount $____ in Trustee’s administrative
 expenses, his commission, the fees and expenses of his professionals, realtor and/or auctioneer
 fees and expenses, and closing costs.


        The Trustee fails to disclose what __% of the sale would pay the liens held by the
 Interested Parties.


        The undisclosed potential __% carve out of the Interested Parties liens would be used to
 pay priority unsecured claims in full with the remainder disbursed pro rata among the general
 unsecured creditors.


        Due to the amounts of the Huntington Beach Gables HOA creditor claim, at best an
 Interested Party, (Money Judgments recorded in 2019 of over $561,000.00) and the HOUSER
 BROS CO unsecured potential claim ($50,000.00) would get the vast majority of the funds




                                                                                                  23
Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                  Desc
                               Main Document    Page 24 of 36



 distributed to the other unsecured claimants would also receive some [unknown] dividend on
 their claims.


        Anything left after the modified § 724(b) distributions would go to the Debtor's estate.
 Distributions pursuant to § 724(b), both as codified and as modified by the Trustee, raise a
 question about the payment of a debtor's (or the Debtor's) homestead exemption, as the statute
 [does not] mention exemptions at all. See In re Christensen, 561 B.R. 195, 213 (Bankr. D. Utah
 2016), aff'd sub nom. Jubber v. Bird (In re Bird), 577 B.R. 365 (B.A.P. 10th Cir. 2017)
 The Court may take note that there is an apparent tension between § 724 and the clear intent of §
 522, which allows debtors to exempt property to assist in their fresh start.”); COLLIER ¶
 724.03[3]
        “If this DEBTOR’S HYPOTHETICAL tax lien in question is an IRS lien that encumbers
 the debtor's state law homestead, applying section 724(b) is not straightforward.”). However, as
 previously stated, Debtor does not have any IRS tax liens.


        The Chapter 7 Trustee ordered and received a Certified Copy of Debtors July 9, 2021,
 DOC 1, on 7/22/2022, DOC 145.


        However, Debtor testified under oath at the first Meeting of Creditors with 341(a), held
 on August 18, 2021, DOC 5, that Debtors July 9, 2021, DOC 1, Chapter 7 Petition [was not]
 accurate and debtor would be filing Amended Schedules.
        Debtors FIRST AMENDMENT Amended Schedule A/B, FIRST AMENDMENT
 Amended Schedule C, was filed September 22, 2021, DOC 16.


        Prior to the Houser Bros MOT objecting to debtors homestead exemption hearing July
 21, 2022, brought by Interested Party Houser Bros Co dba Rancho Del Rey Mobilehome Estates,
 who has no recorded judgments, unpaid claims or liens against debtor), Motion Objecting to
 Debtor’s Claimed Homestead DOC 95, (Debtor’s filed and Recorded pre-petition Declared
 Homestead DOC 74)




                                                                                                   24
Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                    Desc
                               Main Document    Page 25 of 36



        Debtor believes the bankruptcy court was under the impression that the Chapter 7 Trustee
 intended for his June 30, 2022, joinder, DOC 128, to play a role in allowing the sale without
 payment of the Debtor's homestead exemption.
        It appears the Trustee may have taken the position that the Trustee’s Joinder DOC 128
 was only relevant to any net proceeds to the Debtor's estate after the payment of claims pursuant
 to Trustee’s potentially undisclosed modification of the § 724(b) distribution scheme.


        Since the Trustee did not expect a great deal of net proceeds to go to the Debtor's estate,
 the Trustee downplayed to Debtor the importance of the Joinder and to the Hon. Erithe A. Smith.


        The Trustee’s Joinder DOC 128, did not argue points and despite the lack of explicit
 statutory guidance, the Trustee's position appeared to be silent, in that distributions pursuant to §
 724(b), even as modified by a Trustee to pay general unsecured creditors in addition to (and,
 other than his own expenses, instead of) the priority claimants that § 724(b) normally benefits,
 [are not] subject to the Debtor's homestead exemption.


        Since California opted out of the federal exemptions in the Bankruptcy Code, state law
 generally controls the analysis of exemptions.
        Under California law, a debtor who properly records her Article 5 homestead declaration
 while residing at the subject property, is entitled to her declared homestead and the additional
 benefits debtor is also automatically entitled to of the Article 4 automatic homestead exemption
 and its protections against a forced sale. In re Kelley, 9th Cir.BAP (Cal.)2003, 300 B.R. 11.
        There is a long-standing precedent in California of construing exemptions liberally. In re
 Rolland, Bkrtcy.C.D.Cal.2004, 317 B.R. 402


        (“The North Carolina Supreme Court has cautioned that ‘provisions which restrict a
 debtor's access to her exemptions should be construed narrowly.’
 Thus, debtors have long been ‘allowed a great deal of flexibility in claiming and maintaining
 their exemptions’ under the state's law.” (quoting Household Fin. Corp. v. Ellis, 107 N.C. App.
 262, 266 (1992), aff'd 333 N.C. 785 (1993))).




                                                                                                    25
Case 8:21-bk-11710-ES          Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                     Desc
                                Main Document    Page 26 of 36



        Given the importance of the California homestead exemption in providing shelter to
 debtors and their families, see Cook, 2003 WL 21790296, at *2 (“The language of the California
 homestead exemption statute suggests that its purpose is to secure debtors and their families the
 shelter of a homestead.”), it is not surprising that it “is a favorite of the law and will be sustained
 whenever possible,” In re Bryant, Ch. 7 Case No. 94-10476, slip op. at 4 (Bankr. W.D.N.C. Feb.
 2, 1995) (citing Pence v. Price, 211 N.C. 707 (1937)).


        When other courts have considered the interplay of carve outs, § 724(b), and/or
 exemptions, the results have not been consistent, except in the inconsistency in results and
 rationales. Some courts conclude that carve outs of a secured creditor's proceeds for
 distributions to unsecured creditors do not implicate a debtor's exemptions. E.g., In re Stark, Ch.
 7 Case No. 8-20-70948, 2020 WL 5778400, at *2 (Bankr. E.D.N.Y. Sept. 25, 2020), rev'd Stark
 v. Pryor (In re Stark), No. 20-CV-4766 (E.D.N.Y. June 28, 2022) (“[T]he funds generated for the
 benefit of the estate by a chapter 7 trustee pursuant to potentially an [undisclosed] [carve-out]
 agreement potentially applicable in this case are not attributable to a debtor's equity interest in a
 homestead, or are they [not] attributable to the trustee's exercise of his powers to negotiate with
 the Certificate of Title Perfected Holder, of the 30-year Security Interest and Promissory Note
 perfected on the face of the Department of Housing & Community Development Certificate of
 Title to gain some benefit for the estate.”).




        In re Bunn-Rodemann, 491 B.R. 132, 136 (Bankr. E.D. Cal. 2013) (“To the extent that a
 creditor elects to pay a portion of the sales proceeds subject to its lien as an ‘investment
 payment’ for the bankruptcy estate to conduct a short-sale of this Debtor’s Property, such
 monies of the creditor are not assets in which the Debtor may claim an exemption.”).


        Similarly, some courts hold that distributions pursuant to § 724(b) are not subject to a
 debtor's exemptions, e.g., Grochocinski v. Laredo (In re Laredo), 334 B.R. 401, 415 (Bankr.
 N.D. Ill. 2005) (holding that the IRS's lien (pursuant to § 522(c)(2)(B)) and the priority claims
 described in § 507(a)(1)–(7) (pursuant to § 724(b)) are superior to the debtors’ homestead




                                                                                                     26
Case 8:21-bk-11710-ES             Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                Desc
                                   Main Document    Page 27 of 36



 exemption), and allow a § 724(b) sale even when a [trustee's costs] are the only priority claims
 that will potentially be paid.


        Some courts do not see a problem with combining carve outs and § 724(b) as it appears
 the Debtor’s believes the future Trustee's Motion to Sell Debtor’s home will attempt. E.g.,
 Reeves, 2011 WL 841238, at *3 (“The key point is lengthy commentary by Debtor: is the
 Trustee’s attempt at a carve out for the benefit of unsecured creditors really for the benefit of a
 hypothetical lien held by the IRS, [as stated this Debtor does not have any IRS liens] not from a
 creditor who would be subject to the debtor's exemption.” (citing In re World Health Alts., Inc.,
 344 B.R. 291, 297 (Bankr. D. Del. 2006))).


        Other courts reach the opposite conclusions in each of these situations. While carve outs
 are frequently used in bankruptcy, they are not universally allowed to defeat debtors’
 exemptions. See, e.g., In re Anderson, 603 B.R. 564, 570–71 (Bankr. W.D. Va. 2019) (refusing
 to allow carve out of sale proceeds of property owned tenancy by the entireties for the benefit of
 individual unsecured creditors); In re Wilson, 494 B.R. 502, 506 (Bankr. C.D. Cal. 2013) (“It
 does not matter how funds are generated by the estate through a Section 363 sale, including if
 derived from a ‘tip’ [a/k/a carve out] from Bank of America or Wachovia so that they will not
 have to undertake a foreclosure proceeding under California law.
 Funds derived from these sales are property of the estate and are subject to valid exemptions.”).


        Some courts hold that distributions pursuant to § 724(b) are subject to a debtor's
 exemptions. See, e.g., In re Selander, 592 B.R. 729, 735 (Bankr. W.D. Wash. 2018) (“Though
 cloaked in a subordination agreement, effectively the Trustee fails to explain an attempt to do
 more than his claim of the ability to pull exempt property back into the estate and surcharge the
 exemption.


        The Debtor prays and respectfully requests this Court agree this is not a result Congress
 intended with the enactment of § 724(b).”). Although as pointed out above, some courts raise
 questions about a trustee using § 724(b) solely to pay his own fees and expenses. E.g., Sheehan
 v. Posin, Ch. 7 Case No. 11-CV-160, 2012 WL 1413020, at *5 n.1 (N.D. W. Va. Apr. 23, 2012)




                                                                                                   27
Case 8:21-bk-11710-ES          Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                   Desc
                                Main Document    Page 28 of 36



 (suggesting that the bankruptcy court below could examine whether a sale that only paid
 administrative costs was “an attempt by the trustee to churn property worthless to the estate just
 to increase fees” (quoting In re K.C. Mach. & Tool Co., 816 F.2d 238, 246 (6th Cir. 1987)));
 Oakland Cnty. Treasurer v. Allard (In re Kerton Indus.), 151 B.R. 101, 101–02 (E.D. Mich.
 1991) (holding that a sale pursuant to § 724(b) that only resulted in the payment of
 administrative expenses related to the sale did not benefit the bankruptcy estate); see In re
 Fialkowski, 483 B.R. 590, 594 (Bankr. W.D.N.Y. 2012)


        “The full scope of § 724(b) would best be understood in a case in which there are pre-
 petition priority unsecured claims that would benefit from the administration of the collateral.”.


        In re Christensen, the case thoroughly examines the relevant issues and rejects the
 combination of § 724(b) and a carve out. While in the context of a Chapter 7 trustee's application
 for compensation, Christensen involves two bankruptcy cases with liens that exceed the value of
 the debtors’ properties, proposed carve outs of the IRS's liens, attempts to use § 724(b) to pay a
 trustee's fees and costs, and no proposed distribution on the debtors’ exemptions. 561 B.R. at
 197–98.


        Relying on the Handbook for Chapter 7 Trustees prepared by the Office of the United
 States Trustee, the Christensen case concludes that the proposed sales were not mandatory due to
 the lack of equity in the properties. Id. at 203–05. Since the Bankruptcy Code did not require the
 trustee to sell the properties, the trustee needed to show a benefit to the unsecured creditors of the
 debtors’ estates to support his fee applications. Id. at 205–06.
 The Trustee could not, largely because Christensen concludes that the funds carved out of the
 sale proceeds were subject to the debtors’ homestead exemptions. Id. at 210–11


           (“Carve-outs are not a means for secured creditors to dictate payments to other creditors.
 The Trustee and the IRS cannot, simply by agreement, defeat junior lien interests or the Debtors’
 homestead exemptions, nor can a stipulation between the Trustee and the IRS bind the Court
 with respect to questions of law.” (footnote omitted)).




                                                                                                   28
Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                     Desc
                               Main Document    Page 29 of 36



 The Utah court decided the trustee's agreement with the IRS was a sham that was not really
 intended to benefit the unsecured creditors of the debtors but instead to allow the IRS to offer a
 “tip” to the trustee for liquidating the debtors’ property, noting that the IRS would also be a
 significant beneficiary of the distribution to the unsecured creditors. Id. at 212 (“[T]he provision
 that the tip [a/k/a the carve out] will go to unsecured creditors allows the trustee to come before
 the court armed with the argument that in administering this asset, he is fulfilling his statutory
 duty by benefitting unsecured creditors, thereby insulating the arrangement from scrutiny.


        This argument is facile and belies the true nature and purpose of the transaction.”).
 See Christensen, 561 B.R. at 214. Christensen also notes that the arrangement between the IRS
 and the trustee would allow the IRS to obtain a result it could not outside of bankruptcy, as 26
 U.S.C. § 6334(a)(13)(B) “specifically exempts a taxpayer's principal residence from levy.” Id. at
 205 n.40. Section 724(b) does not provide any additional support for the proposal “because
 properly exempted property is not subject to the provisions of § 724.” Id. at 213.


        See Christensen, 561 B.R. at 214. Christensen forcefully and persuasively rejects a
 trustee's sale that combines a carve out and § 724(b). In addition, Christensen is one of the few
 cases discussed in it’s order that even mentions the impact of the Supreme Court's holding in
 Law v. Siegel, 571 U.S. 415 (2014), on the issues at play, and, in its Bird opinion affirming
 Christensen, the Bankruptcy Appellate Panel for the Tenth Circuit provides the most thorough
 examination of Law in this context.
        In the course of holding that bankruptcy courts cannot surcharge a debtor's exemption for
 bad faith conduct, Law notes that subsection (k) of the Bankruptcy Code's exemption statute says
 exempted property is “not liable for payment of any administrative expense.” Id. at 420–22
 (quoting § 522(k)).


        There are “two narrow exceptions” to that “general rule,” but both of the statutory
 exceptions relate to the costs of avoiding a transfer and were not at issue in Law. Id. at 422 n.2.


        The Court then recalls its previous observation that § 522 balances “the difficult choices
 that exemption limits impose on debtors with the economic harm that exemptions visit on




                                                                                                      29
Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                    Desc
                               Main Document    Page 30 of 36



 creditors,” id. at 426–27 (quoting Schwab v. Reilly, 560 U.S. 770, 791 (2010)), and adds that
 “[t]he same can be said of the limits imposed on recovery of administrative expenses by
 trustees,” id. at 427.


         While the factual situation here concerning Debtor jas not yet reached this analysis,
 Debtor believes it is important and distinguishable from the one before the Court in Law, “it
 would nonetheless have the same effect—to deprive [the Debtor] of [her] homestead exemption
 [ ] on a basis other than one enumerated in the Code.” Bird, 577 B.R. at 386. Law holds that a
 debtor cannot be deprived of a homestead exemption to pay administrative expenses even when a
 bankruptcy court found that a trustee had to incur over $500,000 in attorney's fees due to the
 debtor's fraud. Law, 571 U.S. at 420.


         As in Bird/Christensen, the Trustee's current Application before this court and potential
 subsequent Motion to Sell, is not based on any allegation of misbehavior by the Debtor. See
 Bird, 577 B.R. at 386 (“Debtors in these cases do not stand accused of any fraudulent or
 contemptuous behavior.”). Law does allow that state law could provide for the disallowance of
 an exemption created by the state, 571 U.S. at 425 (citing In re Sholdan, 217 F.3d 1006, 1008
 (8th Cir. 2000); COLLIER ¶ 522.08[1]–[2]). Trustee did not assert any state law basis for
 ignoring the Debtor's homestead exemption other than the Trustee’s Joinder DOC 128, which
 hypothetically, did not believe was necessary to allow his subsequent proposed modified
 distributions pursuant to § 724(b), in a Motion to Sell.


         Given the lack of an explicit statutory basis facing the Trustee subsequent Motion to Sell,
 and potential payment of administrative expenses pursuant to § 724(b), not being subject to a
 debtor's exemptions seems questionable at best after Law. See Christensen, 561 B.R. at 214 (“[I]t
 is inconsistent with § 522(k) if exempted property is subject to distribution under § 724(b) and
 used to pay administrative expenses.”).


         Finally, the Debtor asks this Court to consider the Trustee's Application to hire a Broker
 proposal and contract attached to the Motion, in light of the Debtors pending Motion for




                                                                                                  30
Case 8:21-bk-11710-ES          Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                      Desc
                                Main Document    Page 31 of 36



 Reconsideration overruling Interested Party Houser Bros MOT Obejcting to Debtors
 Homeostead Exemption in a home she purchased and resides in since November 2018,
 one of the primary purposes of bankruptcy: the offer of a fresh start to the Debtor. See Cent. Va.
 Cmty. Coll. v. Katz, 546 U.S. 356, 363–64 (2006) (“Critical features of every bankruptcy
 proceeding are the exercise of exclusive jurisdiction over all of the debtor's property, the
 equitable distribution of that property among the debtor's creditors, and the ultimate discharge
 that gives the debtor a ‘fresh start’ by releasing him, her, or it from further liability for old
 debts.” (citing Loc. Loan Co. v. Hunt, 292 U.S. 234, 244 (1934))); Hunt, 292 U.S. at 244 (“One
 of the primary purposes of the Bankruptcy Act is to ‘relieve the honest debtor from the weight of
 oppressive indebtedness, and permit him to start afresh free from the obligations and
 responsibilities consequent upon business misfortunes.’ ” (quoting Williams v. U.S. Fid. & Guar.
 Co., 236 U.S. 549, 554–55 (1915))).


         Rhe Trustee's Motion, fails to discuss “any negative impact on the Debtor from the sale
 of her home or how this Application and subsequent MOT to Sell, assists the Debtor with her
 “fresh start.”


 Moreover, the Debtor respectfully wishes to inform this Court that the Debtors attempts to sell
 her home since 2019, Houser Bros Co holding debtor “hostage” under an unprosecuted 1/2/2019,
 Unlawful Detainer Case filed by Houser Bros Co against a 11/1/2018, bona fide purchaser for
 value of a 2014 Manufactured Home, would have received an even better version of the Trustee's
 potential picture of a “type of fresh start” if Debtor had been allowed to sell her home on her
 own without filing bankruptcy.


         If the court approves any version of Trustee's Application and subsequent Motion To
 Sell, before the Honorable Erithe A. Smith is permitted to consider debtors Motion for
 Reconsideration on September 22, 2022, DOC 157, the Debtor at least 60 years old, would begin
 her “fresh start” in need of a new home while still subject to significant liens.


 Debtor believes the burden of a Trustee's 724(b) disguised proposal would actually be shifted to
 the Debtor, see Christensen, 561 B.R. at 214 (“[D]ebtors may be burdened with tax debt that




                                                                                                     31
Case 8:21-bk-11710-ES          Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                      Desc
                                Main Document    Page 32 of 36



 could have been satisfied from the property—in effect, they could also be saddled with the
 administrative expenses of this case.”). SEE Trustee’s May 12, 2022, Motion to Employ
 Danning, Gill, Israel, & Krasnoff, LLP, Nunc Pro Tunc to January 27, 2022, DOC
 92, after Debtor sent Trustee a Text Message in February 2022, inquiring why the Trustee has
 not submitted an Application to the Bankruptcy Court to employ General Counsel for a Chapter
 7 Trustee and Bankruptcy Attorney for almost 30 years.


          Despite the Trustee's insistence to the contrary, the Debtor does not see this Application
 to Employ a Broker to sell debtor’s personal residence since 2018 supporting the Debtor's fresh
 start.


          Debtor suggest here, a hypothetical Trustee's proposal that potentially could arise her,
 would not benefit the Debtor's estate and would violate the principle that trustees should not
 administer property solely for the benefit of themselves.


 Any potential carve outs and novel distribution scheme solve the benefit to the estate problem,
 but the proposal only works if the court ignores the September 22, 2022, Debtor's Motion for
 Reconsideration DOC 157, sustaining interested parties objection to debtors homestead
 exemption (for reasons that the Trustee did not explain in his joinder). DOC 128.


          Given the strong protection of exemptions in California, particularly the homestead
 exemption, and the Supreme Court's instruction about the limited reasons for paying
 administrative expenses with exempt property, which are not present in this case, the court
 believes the Debtor's exemptions deserve more respect than the Trustee premature Application to
 Employ a Broker provides.


          In addition, Congress created a precise scheme for distributions pursuant to § 724(b) that
 differs from the normal priorities applied in almost all bankruptcy cases, and it is not appropriate
 for the Trustee to create a new version of that distribution scheme by agreement of certain
 creditors or otherwise.




                                                                                                     32
Case 8:21-bk-11710-ES         Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04                  Desc
                               Main Document    Page 33 of 36



 Adding general unsecured creditors to the § 724(b) distribution scheme would be a significant
 rewrite of the statutory language.


        If the debtors objection to this Application is viewed as an adjunct of the potential
 Motion to Sell and the Trustee's overall subsequent proposal, the respectfully asks this Court to
 broadly consider this IN PRO PER and the reasons discussed above.
 The Trustee filed the the Joinder separately from (and prior to) this Motion, and even though the
 Trustee’s Joinder DOC 128, appeared noncontroversial on its face, this debtor respectfully asks
 this Court to allow Debtors Motion for Reconsideration Hearing set on September 22, 2022,
 DOC 200, to be considered by the Honorable Erithe A. Smith.


        Several courts have considered and overruled similar objections. See Fontana, 2015
 Bankr. LEXIS 3771, at *3–4 (citing In re Ruppel, 368 B.R. 42, 44 (Bankr. D. Or. 2007); In re
 Quezada, 368 B.R. 44, 47 (Bankr. S.D. Fla. 2007); In re Vandeventer, 368 B.R. 50, 54 (Bankr.
 C.D. Ill. 2007)).


        These cases make a distinction between an exemption not applying to certain types of
 claims or creditors, on the one hand, and disallowing the exemption altogether, on the other. Id.
 (citations omitted); see also Christensen, 561 B.R. at 213 (noting that property remaining liable
 for certain claims does not mean that an exemption is disallowed (citing In re Covington, 368
 B.R. 38, 40 (Bankr. E.D. Cal. 2006))).


        Since the property in question in Debtors Motion for Reconsideration DOC 157, may still
 be exempt (except as to certain claims/creditors), the Court should deny Trustee’s Application to
 Employ a Broker as premature and any attempts to begin to administer it.


        Ruppel, Quezada, Vandeventer, and Covington all examine changes to § 522 pursuant to
 the Bankruptcy Abuse Prevention and Consumer Protection Act (“BAPCPA”), Trustee did not
 provide a state-specific reason to deny the Debtor's exemption in his Joinder DOC 128.


 Executed this 30th day of August 2022, at Huntington Beach, CA., County of Orange.




                                                                                                 33
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 34 of 36



 Respectfully,


 JAMIE LYNN GALLIAN




                                                                           34
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 35 of 36




                                                                           35
Case 8:21-bk-11710-ES   Doc 208 Filed 08/30/22 Entered 08/30/22 16:34:04   Desc
                         Main Document    Page 36 of 36




                                                                           36
